Case 2:04-cv-02418-SHI\/|-dkv Document 52 Filed 08/11/05 Page 1 of 2 Page|D 65

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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 AUG \ \ m 9: \8
WESTERN DIVISION AT MEMPHIS

 

EZINE D. ANDERSON, W,D GF zllthHlS
Plaimiff,
V.
CIVIL ACTION NO. 04-2418 Ma v
SCHNUCK MARKETS INC., JURY DEMANDED
Defendant.

 

ORDER TO FILE AMENDED COMPLAINT

 

For all reasons stated in Plaintiff"s Motion To Amend Complaint, and for good

cause shown Plaintiff’s Motion shall be granted;
IT IS, THEREFORE, ORDERED that Plaintiff shall be allowed to file an

Amended Complaint in this cause to increase amount of damages prayed for in the

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UNIT D STATES MAGISTRATE JUDGE

Date: EM%W{ 71 @?005,

original Complaint.

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with sale 53 and/or 79(a) FHcP mm

    
 

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Honorable Sarnuel Mays
US DISTRICT COURT

